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 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
      United States of America,                              CR 19-02162-TUC-JGZ (EJM)
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                                Plaintiff,                 FINAL ORDER OF FORFEITURE
10
                     v.
11
      Ahmed Mahad Mohamed and
12    Abdi Yemani Hussein,
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                             Defendants.
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            WHEREAS, on August 26, 2024, this Court entered a Preliminary Order of
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     Forfeiture pursuant to the plea agreements entered into by the defendants, ordering the
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     defendants to forfeit $10,002 in U.S. currency; and
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            WHEREAS, consecutively from August 27, 2024, through September 25, 2024,
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     notice of the Preliminary Order of Forfeiture was posted on an official internet government
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     forfeiture site (www.forfeiture.gov) and of the intent of the United States to dispose of the
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     property in accordance with the law and further notifying a11 third parties of their right to
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     petition the court within sixty (60) days from the first date of publication, for a hearing to
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     adjudicate the validity of their alleged legal interest in the property; and
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            WHEREAS, no timely claim has been filed; and
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            WHEREAS, the Court finds that the defendant had an interest in the property that
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     is subject to forfeiture pursuant to Title 18, United States Code, Section 981(a)(l)(G) and
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     Title 28, United States Code, Section 2461(c).
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 1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that pursuant to Title
 2   18, United States Code, Section 98l(a)(l)(G) and Title 28, United States Code, Section
 3   2461(c), all right, title and interest in $10,002 in U.S. currency is hereby forfeited to and
 4   vested in the United States and shall be disposed of according to law.
 5          IT IS FURTHER ORDERED that the United States District Court shall retain
 6   jurisdiction in the case for the purpose of enforcing this order.
 7          DATED this--J{i!:_ day of J"'aY)vO.,Vy                       , 2025.
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11                                                       Umted States ChiefDistrictJudge

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     United States ofAmerica v. Ahmed Mahad Mohamed, et al.
     Final Order of Forfeiture -Page 2 of 2
